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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


UNITED STATES OF AMERICA

VS.                                            CASE NO: 6:17-cr-232-Orl-37DCI

CODY PAYNE


                        ACCEPTANCE OF PLEA OF GUILTY,
                         ADJUDICATION OF GUILT, AND
                           NOTICE OF SENTENCING

      The Court adopts the Report and Recommendation Concerning Plea of Guilty

(Doc. 88) entered by the Honorable Daniel C. Irick, United States Magistrate Judge, to

which Notices of No Objection have been filed (Docs. 89 and 90). The Court hereby

accepts the Defendant’s plea of guilty to Count One of the Indictment, and the Defendant

is adjudged guilty of such offense.

      SENTENCING for the Defendant is hereby scheduled for Monday, March 26,

2017, at 10:15 AM before the undersigned in the United States Courthouse, Courtroom

4A, Fourth Floor, 401 West Central Boulevard, Orlando, Florida 32801.

      IF THE PARTIES WANT THE COURT TO CONSIDER ANY MOTION FOR

DEPARTURE OR OTHER WRITTEN MATERIAL OTHER THAN THE PRE-SENTENCE

INVESTIGATION REPORT, IT MUST BE SUBMITTED NO LATER THAN SEVEN (7)

DAYS PRIOR TO THE DATE OF SENTENCING.

      DONE AND ORDERED in Chambers in Orlando, Florida, on January 3, 2018.
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Copies:    Counsel of Record




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